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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                                    EASTERN DIVISION
11    LAMONT GARNER KARRIEM,                  )   Case No. 5:21-cv-01145-GW (JDE)
                                              )
12                       Plaintiff,           )
                                              )   JUDGMENT
13                        v.                  )
                                              )
      COUNTY OF RIVERSIDE, et al.,            )
14                                            )
                                              )
15                       Defendants.          )
                                              )
16
17
            Pursuant to the Order Accepting Findings and Recommendations of the
18
      United States Magistrate Judge,
19
            IT IS HEREBY ADJUDGED that this action is DISMISSED, with
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      Claims One though Six in the operative First Amended Complaint dismissed
21
      with prejudice, and the remaining state law claims, Claims Seven through Ten
22
      in the First Amended Complaint, dismissed without prejudice to being
23
      reasserted in state court.
24
25    Dated: October 13, 2021
26
                                                  ______________________________
27
                                                  GEORGE H. WU
28                                                United States District Judge
